                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 SERGIO BONILLA, on behalf of himself and        )
 all others similarly situated,                  )
                                                 )     Case No. 1:21-cv-00051
                                Plaintiff,       )
                                                 )     Hon. Judge Virginia M. Kendall
        v.                                       )
                                                 )     Magistrate Judge Gabriel A. Fuentes
 PEOPLECONNECT, INC., a Delaware                 )
 Corporation; PEOPLECONNECT INC., a              )
 California Corporation; CLASSMATES              )
 MEDIA CORPORATION, a Delaware                   )
 Corporation,                                    )
                                                 )
                                Defendants.      )


 THERESA LOENDORF, on behalf of herself          )
 and all others similarly situated,              )
                                                 )     Case No. 1:21-cv-00610
                                Plaintiff,       )
                                                 )     Hon. Judge Virginia M. Kendall
        v.                                       )
                                                 )     Magistrate Judge Gabriel A. Fuentes
 PEOPLECONNECT, INC., a Delaware                 )
 Corporation; CLASSMATES MEDIA                   )
 CORPORATION, a Delaware Corporation,            )
                                                 )
                                Defendants.      )


             DEFENDANT’S MOTION FOR LEAVE TO FILE EXCESS PAGES

       Pursuant to Local Rule 7.1, Defendant PeopleConnect, Inc., by and through its undersigned

attorneys, respectfully moves for leave to file its Memorandum of Law in Support of its Motion to

Dismiss Plaintiffs’ Complaints (“Memorandum in Support”) in excess of 15 pages. Defendant’s

deadline to answer or otherwise plead is April 5, 2021 and thus Defendant respectfully requests a

ruling on this matter as soon as possible. In support of this motion, Defendant states as follows:
          1.     Despite Defendant’s best efforts, in working carefully to prepare an efficient

Memorandum in Support, Defendant requires 20 additional pages to adequately address all issues

presented in Plaintiffs Sergio Bonilla and Theresa Loendorf (“Plaintiffs”)’ complaints. Thus,

Defendant moves for leave to file a maximum of 35 pages.1

          2.     The Memorandum in Support requires additional pages because it combines several

arguments which would each support standalone motions, including arguments which would

support dismissal pursuant to Federal Rule of Civil Procedure 12(b)(2), 12(b)(3), and 12(b)(6) and

relates to two separate complaints. That includes a motion to compel arbitration pursuant a Terms

of Use provision.

          3.     Defendant has conferred with opposing counsel. Plaintiff Bonilla takes no position

on this motion. Plaintiff Loendorf does not object to this motion.

          WHEREFORE, Defendant respectfully requests that the Court grant this motion and enter

an order granting Defendant leave to file a Memorandum in Support not to exceed 35 pages.

    Dated: April 1, 2021                     Respectfully Submitted,

                                             PEOPLECONNECT, INC

                                             By: /s/ Wade A. Thomson

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 Defendant intends to file the Memorandum in Support and related documents separately
following this Court’s ruling on this Motion.


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                                   CERTIFICATE OF SERVICE

    I, Wade A. Thomson, certify that on April 1, 2021, I caused the foregoing document to be

electronically filed with the Clerk of the Court using the CM/ECF system, which will then send a

Notice of Electronic Filing to all counsel of record.

                                                        /s/ Wade A. Thomson
